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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :      Case No. 21-cr-99 (PLF)
                                               :
VAUGHN GORDON,                                 :
             Defendant.                        :


                     JOINT MOTION TO CONTINUE STATUS HEARING

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Vaughn Gordon, respectfully move this Honorable

Court to continue the status hearing currently scheduled for May 24, 2021, to a date in

approximately 30 days, with time excluded under the Speedy Trial Act in the interests of justice.

        In support of this motion, the parties submit that:

        1.      The government produced substantial discovery to the defense on May 14, 2021,

and anticipates making a plea offer to the defendant shortly.

        2.      A continuance of approximately thirty days will allow discovery to be reviewed

and plea discussions to occur.

        3.      No Pretrial Services report has been filed indicating the need to address the

defendant’s compliance with the conditions of his release.

        4.      The parties are available for a status hearing the week of June 21, 2021, and agree

that the interests of justice will be served by excluding time and outweigh the defendant’s and the

public’s interest in a speedy trial.
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       WHEREFORE, the parties respectfully ask this Court to continue the status hearing

currently scheduled for May 24, 2021, to a date the week of June 21, 2021.



                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY

                                            By:    /s/ Mary L. Dohrmann
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                                                   /s/ Michelle Peterson
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                                                   Counsel to the Defendant
